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                                                                          FILED: July 14, 2022


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                          ___________________

                                              No. 21-1981
                                               (21-10765)
                                               (21-00056)
                                          ___________________

        In re: CLEARY PACKAGING, LLC

                       Debtor

        ------------------------------

        CANTWELL-CLEARY CO., INC.

                       Plaintiff - Appellant

        v.

        CLEARY PACKAGING, LLC

                       Defendant - Appellee

        -------------------------------

        PUBLIC JUSTICE CENTER; LEGAL AID JUSTICE CENTER; MOUNTAIN
        STATE JUSTICE; NORTH CAROLINA JUSTICE CENTER; CASA; CENTRO
        DE LOS DERECHOS DEL MIGRANTE; NATIONAL BLACK WORKER
        CENTER; NATIONAL EMPLOYMENT LAW PROJECT; FARM LABOR
        ORGANIZING COMMITTEE, AFL-CIO; UNITED STATES OF AMERICA

                       Amici Supporting Appellant

        NATIONAL ASSOCIATION OF BANKRUPTCY TRUSTEES
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                    Amicus Supporting Rehearing Petition

                                     ___________________

                                        MANDATE
                                     ___________________

              The judgment of this court, entered June 07, 2022, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                 /s/Patricia S. Connor, Clerk
